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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA
                              NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                      §            MDL NO. 1873
FORMALDEHYDE                             §
PRODUCT LIABILITY LITIGATION             §            SECTION “N-5”
                                         §            JUDGE ENGELHARDT
THIS DOCUMENT IS RELATED TO:             §
                                         §
Jacob Watson, et al v.                   §
Gulf Stream Coach, Inc., et al           §            MAG. JUDGE CHASEZ
Civil Action No. 09-4700                 §

               PLAINTIFF THOMAS WILLIAMS’ NOTICE OF VOLUNTARY
             DISMISSAL WITHOUT PREJUDICE UNDER FRCP 41(a)(1)(A)(i)

           NOW INTO COURT, through undersigned counsel, comes the following

  Plaintiff herein, THOMAS WILLIAMS, who, pursuant to the provisions of Rule

  41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby gives notice of his voluntary

  dismissal, without prejudice, of his claims asserted against the Defendants in the

  Complaint previously filed in these proceedings.
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                            Respectfully submitted,

                            /s/ Robert C. Hilliard
                            _____________________________
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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 24, 2010, a true and correct copy of the foregoing
pleading was filed electronically using the CM/ECF system. Notice of this filing will be sent
to all known counsel by operation of the court’s electronic filing system.


                                          /s/ Robert C. Hilliard
                                          ____________________________
                                          ROBERT C. HILLIARD




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